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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                       Case No. 11-CR-20129-35

WAYNE R. WERTH,

           Defendant.
_________________________/

                           ORDER STRIKING PENDING MOTIONS

       Before the court are three documents filed pro se by Defendant Wayne R. Werth

and docketed in the month of June. The court will strike the motions because, at the

time of the filings, Defendant was represented by counsel. Additionally, even if the

court were to accept the pro se filings, they would be rejected in any event as they do

not conform with the local rules, and Defendant did not seek concurrence before filing.1

       Defendant is not entitled to represent himself while simultaneously represented

by counsel. A criminal defendant has the right to appear pro se or by counsel, a right

protected both by the Sixth Amendment to the United States Constitution and by federal

statute. See 28 U.S.C. § 1654 (“In all courts of the United States the parties may plead

and conduct their own cases personally or by counsel . . . .”); see also Faretta v.

California, 422 U.S. 806, 807, 832 (1975); United States v. Daniels, 572 F.2d 535, 540

       1
          For example, there is not an adequate margin on Defendant’s papers, nor are
they double-spaced. The hand printing is generally legible, but too small to replicate 13
point font. If in the future the court were to permit filings by Defendant pro se, they will
be required to conform in these and the other Local Rules. A failure to so comply will
result in the Clerk striking the non conforming paper through a text entry order, and
returning the paper to Defendant.
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(5th Cir. 1978); Ennis v. LeFevre, 560 F.2d 1072, 1075 (2nd Cir. 1977); United States

v. Williams, 534 F.2d 119, 123 (8th Cir. 1976). This right, however, is disjunctive, thus a

party may chose either to represent himself or to appear through an attorney. There is

no right to “hybrid” representation that would result in simultaneous or alternating self-

representation and representation by counsel. A person represented by counsel must

rely upon that counsel. See, e.g., United States v. Olson, 576 F.2d 1267, 1269-70 (8th

Cir. 1978); Daniels, 572 F.2d at 540; Ennis, 560 F.2d at 1075; Williams, 534 F.2d at

123; United States v. Hill, 526 F.2d 1019, 1024-25 (10th Cir. 1975); Move Org. v. City of

Phila., 89 F.R.D. 521, 523 n.1 (E.D.Pa.1981); United States ex rel. Snyder v. Mack, 372

F.Supp. 1077, 1078-79 (E.D.Pa.1974); cf. Storseth v. Spellman, 654 F.2d 1349,

1352-53 (9th Cir. 1981) (once counsel is appointed, prisoner has no right to assistance

from inmate writer).

           IT IS ORDERED that the three documents filed pro se in June 2013 by

Defendant Werth [Dkt. ## 616, 617, 625] are hereby STRICKEN from the docket of this

court.


                                                                    S/Robert H. Cleland
                                                                   ROBERT H. CLELAND
                                                                   UNITED STATES DISTRICT JUDGE
Dated: July 16, 2013


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 16, 2013, by electronic and/or ordinary mail.

                                                                    S/Lisa Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522



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